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    JULIAN R. HOOD, JR.,                            *
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                        Plaintiff,
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                                                          No. 16-570
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                                                          Fifed: July 1.2016
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    UNITED STATES,
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                                                                               FILED
                        Defendant.
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                                                                            U.S. COURT OF
                                                                           FEDEML CLAIMS
                                                ORDER
        On June 8, 2016, the court issued an Order in the above-captioned case notino
that:

        Pursuant to Rule 3.1 of the Rules of the United States Court of Federal
        Claims, plaintiff shall either pay the 9400.00 filing fee or file a motion to
        proceed in forma pauperis in Case Number 16-b70. lf plaintiff intends to file
        a motion to proceed in forma pauperis or pay the filing fee in Case Number
        16-570, plaintiff shall file such a motion or pay the filing fee on or before
        June 30, 2016. lf plaintiff does not file a motion to proceed in forma pauperis
        or submit the filing fee on or before June 30, 2016, the court will dismiss his
        complaint.


       As of July 1,2016, plaintiff has not filed a motion to proceed in forma pauperis nor
has plaintiff submitted the requisite filing fee. Therefore, pursuant to RCFC 41(b), the
above-captioned case is DlsMlssED, without prejudice, for failure to follow the court's
Order. The Clerk's Office shall enter JUDGMENT consistent with this Order.


        IT IS SO ORDERED,
